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                                            January 21, 2025

  Christopher G. Conway
  Office of the Clerk
  United States Court of Appeals of the Seventh Circuit
  Everett McKinley Dirksen United States Courthouse
  219 S. Dearborn Street, Room 2722
  Chicago, IL 60604

          Re:     Richards v. Eli Lilly and Company, et al., No. 24-02574

  Dear Mr. Conway:

        We write in response to Defendants-Appellants’ letter of January 21,
  2025 (Dkt. 43), apprising the Court of E.M.D. Sales, Inc. v. Carrera, 604 U.S. --
  -, 2025 WL 96207 (Jan. 15, 2025).

        In E.M.D. Sales, the Supreme Court held that the preponderance of
  the evidence burden of proof applies when an employer seeks to
  demonstrate that an employee is exempt from the minimum wage and
  overtime provisions of the Fair Labor Standards Act (“FLSA”), 29 U.S.C.
  § 201 et seq. See E.M.D. Sales, 2025 WL 96207, at *4. This unremarkable
  proposition has nothing to do with the issue before this Court.

       The application of an FLSA exemption is an affirmative defense on
  which the defendant carries the burden of proof. Jirak v. Abbott Lab’ys, Inc.,
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566 F. Supp. 2d 845, 849 (N.D. Ill. 2008). As courts in this Circuit and
throughout the country have noted, affirmative defenses, including an
FLSA exemption, are not properly determined at the conditional
certification stage due to the limited record before the court; instead, these
affirmative defenses are properly considered at a later stage in the litigation
on a fuller record. See, e.g., id. at 850 (“Whether pharmaceutical
representatives are exempt from the FLSA cannot be determined based on
the limited record developed at this [conditional certification] stage. . . .
These are issues that must be decided at later stages of the litigation.”);
Rottman v. Old Second Bancorp, Inc., 735 F. Supp. 2d 988, 992 (N.D. Ill. 2010);
Meyer v. Panera Bread Co., 344 F. Supp. 3d 193, 207 (D.D.C. 2018) (finding
that “issues of the applicability of an FLSA exemption are . . . premature” at
the conditional certification stage, and collecting cases holding the same).

      Accordingly, the standard of proof that courts must apply in
adjudicating an affirmative defense, which requires merits-based,
individualized inquiries, bears little relevance to the proper standard for
authorizing the issuance of notice of a case to similarly situated employees
– an inquiry that should occur at the outset of litigation without a
significant record. See Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 171-
72 (1989)




                                          Sincerely,

                                          /s/ Harold Lichten____________
                                          Harold Lichten

cc:   All counsel of record via CM/ECF
